Case 2:21-cv-02106-JTM-KWR Document 71 Filed 03/02/22 Page 1of3

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

HALSTEAD BEAD, INC., an Arizona CIVIL ACTION NO: 2:21-cv-02106 H(4)
corporation

Plaintiff
VERSUS

KIMBERLY LEWIS, in her official
capacity as Louisiana Secretary of
Revenue, and

AMANDA GRANIER, in her official
capacity as Sales Tax Collector, Lafourche
Parish, Louisiana, and

DONNA DRUDE, in her official capacity
as Sales and Use Tax Administrator of
Tangipahoa Parish, Louisiana, and

JAMIE BUTTS, in her official capacity as
Sales Tax Auditor, Washington Parish,
Louisiana, and

LAFOURCHE PARISH, LOUISIANA, a
Home Rule Chartered Parish, and

TANGIPAHOA PARISH, LOUISIANA, a
Home Rule Chartered Parish, and

WASHINGTSON PARISH, LOUISIANA,
a Home Rule Chartered Parish
, Defendants

 

EX PARTE MOTION FOR EXTENSION OF TIME TO PLEAD

 

NOW INTO COURT, through undersigned counsel comes defendant, LAFOURCHE
PARISH GOVERNMENT (incorrectly referred to as Lafourche Parish), who out of an

abundance of caution, appears specially herein solely for the purpose of bringing this Motion for

Page 1 of 3
Case 2:21-cv-02106-JTM-KWR Document 71 Filed 03/02/22 Page 2 of 3

Extension of Time to Plead to Plaintiff's Complaint pursuant to Rule 6(b) of the Federal Rules of

Civil Procedure. In support of this Motion, Lafourche Parish Government states the following:

1.

On or about November 15, 2021, Plaintiff filed a Verified Complaint in the United
State District Court for the Eastern District of Louisiana.

Lafourche Parish Government was purportedly served with the Verified Complaint
on February 10, 2022.

The time to file responsive pleadings on behalf of Lafourche Parish Government
has not yet expired and is currently due on March 3, 2022.

Undersigned counsel for Movant has just been retained and additional time is
needed to inquire into the facts presented in order to properly and adequately file
responsive pleadings in these proceedings.

Pursuant to Local Civil Rule 7.8, Defendant certifies that there has been no previous
extension of time to plead on behalf of Lafourche Parish Government and that no

objection to such extension has been previously filed in the record.

THEREFORE, defendant, LAFOURCHE PARISH GOVERNMENT, respectfully

requests this Honorable Court issue an order extending the time to file an answer, motions and/or

other responsive pleadings in this matter for a period of twenty-one (21) days from March 3, 2022,

that is up to and including March 24, 2022.

**Signature Block on Following Page**

Page 2 of 3
Case 2:21-cv-02106-JTM-KWR Document 71 Filed 03/02/22 Page 3of3

Respectfully submitted,

/s/ Michael G. Gee

 

MICHAEL G. GEE (20193)
MALLORY FIELDS MADDOCKS (35772)
Porteous, Hainkel & Johnson, L.L.P.
211 West Fifth Street
Thibodaux, LA 70301-3199
Telephone: (985) 446-8451
Telefax: (985) 447-3004

’ Email: mgee@phjlaw.com

mmaddocks@phjlaw.com

ATTORNEYS FOR DEFENDANT,
LAFOURCHE PARISH GOVERNMENT

CERTIFICATE OF SERVICE
(EX PARTE MOTION FOR EXTENSION OF TIME TO PLEAD)

IDO HEREBY CERTIFY that on March 2, 2022 I electronically filed the foregoing with
the Clerk of Court by using the CM/ECF system which will send notice of electronic filing.

/s/ Michael G. Gee

 

MICHAEL G. GEE
MALLORY FIELDS MADDOCKS

4887-2046-2868, v. 1

Page 3 of 3
